           Case 4:20-cv-05640-YGR Document 894-1 Filed 03/01/24 Page 1 of 5




1     THEODORE J. BOUTROUS JR.,                      MARK A. PERRY, SBN 212532
      SBN 132099                                        mark.perry@weil.com
2       tboutrous@gibsondunn.com                     JOSHUA M. WESNESKI (D.C. Bar No.
      RICHARD J. DOREN, SBN 124666                   1500231; pro hac vice)
3       rdoren@gibsondunn.com                           joshua.wesneski@weil.com
      DANIEL G. SWANSON, SBN 116556                  WEIL, GOTSHAL & MANGES LLP
4       dswanson@gibsondunn.com                      2001 M Street NW, Suite 600
      JAY P. SRINIVASAN, SBN 181471                  Washington, DC 20036
5        jsrinivasan@gibsondunn.com                  Telephone: 202.682.7000
      GIBSON, DUNN & CRUTCHER LLP                    Facsimile: 202.857.0940
6     333 South Grand Avenue
      Los Angeles, CA 90071                          MORGAN D. MACBRIDE, SBN 301248
7     Telephone: 213.229.7000                           morgan.macbride@weil.com
      Facsimile: 213.229.7520                        WEIL, GOTSHAL & MANGES LLP
8                                                    Redwood Shores Pkwy, 4th Floor
      CYNTHIA E. RICHMAN (D.C. Bar No.               Redwood Shores, CA 94065
9     492089; pro hac vice)                          Telephone: 650.802.3044
        crichman@gibsondunn.com                      Facsimile: 650.802.3100
10    GIBSON, DUNN & CRUTCHER LLP
      1050 Connecticut Avenue, N.W.                  MARK I. PINKERT (Fla. Bar No. 1003102; pro
11    Washington, DC 20036                           hac vice)
      Telephone: 202.955.8500                           mark.pinkert@weil.com
12    Facsimile: 202.467.0539                        KATHERINE G. BLACK (Fla. Bar No.
                                                     1031465; pro hac vice)
13    RACHEL S. BRASS, SBN 219301                       katie.black@weil.com
          rbrass@gibsondunn.com                      WEIL, GOTSHAL & MANGES LLP
14    JULIAN W. KLEINBRODT, SBN 302085               1395 Brickell Avenue, Suite 1200
          jkleinbrodt@gibsondunn.com                 Miami, FL 33131
15    GIBSON, DUNN & CRUTCHER LLP                    Telephone: 305.577.3100
      One Embarcadero Center, Suite 2600             Facsimile: 305.374.7159
16    San Francisco, CA 94111
      Telephone: 415.393.8200
17    Facsimile: 415.393.8306
18    Attorneys for Defendant APPLE INC.
19                                 UNITED STATES DISTRICT COURT
20                              NORTHERN DISTRICT OF CALIFORNIA
21                                           OAKLAND DIVISION
22    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR
23
              Plaintiff, Counter-defendant           SUPPLEMENTAL DECLARATION OF
24    v.                                             MARK ROLLINS IN SUPPORT OF APPLE
                                                     INC.’S MOTION FOR ENTRY OF
25    APPLE INC.,                                    JUDGMENT ON ITS INDEMNIFICATION
                                                     COUNTERCLAIM
26            Defendant, Counterclaimant
                                                     The Honorable Yvonne Gonzalez Rogers
27
                                                     REDACTED VERSION OF DOCUMENT
28                                                   SOUGHT TO BE SEALED
     ROLLINS SUPPLEMENTAL DECLARATION ISO                             CASE NO. 4:20-CV-05640-YGR
     APPLE’S MOTION FOR ENTRY OF JUDGMENT
            Case 4:20-cv-05640-YGR Document 894-1 Filed 03/01/24 Page 2 of 5




1                                                 TABLE OF CONTENTS
2                                                                                                                         Page

3    I.       Apple’s Practices For Allocating Spend For Legal Matters ......................................................1
4    II.      Apple’s Costs Incurred And Paid Since October 31, 2023 ........................................................1
5    III.     Confidentiality Of Billing Practices And Non-Public Financial Information ...........................2
6

7

8

9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

     ROLLINS SUPPLEMENTAL DECLARATION ISO                         i                        CASE NO. 4:20-CV-05640-YGR
     APPLE’S MOTION FOR ENTRY OF JUDGMENT
               Case 4:20-cv-05640-YGR Document 894-1 Filed 03/01/24 Page 3 of 5




1    I, Mark Rollins, declare:

2           1. I am a Senior Financial Manager and the Finance Controller for Legal and Global Security

3    (“LGS”) at Apple Inc. (“Apple”). I joined the company in November of 2019 and have consistently

4    worked with Apple’s litigation teams while at Apple as a finance manager.

5           2. In my current position, I oversee all LGS budgets and expenses. In this capacity, I am familiar

6    with the process by which Apple reviews and approves vendor budgets and invoices pertaining to a

7    variety of types of litigation in a variety of jurisdictions. This includes expenses related to the Epic,

8    Cameron, and Pepper 1 litigations.

9           3. I make this supplemental declaration in support of Apple’s Motion for Entry of Judgment on its

10   Indemnification Counterclaim and Apple’s Administrative Motion to Seal (the “Motion to Seal”). I have

11   personal knowledge of the facts set forth herein. If called as a witness, I could and would competently

12   testify to the matters stated herein.

13        I.     APPLE’S PRACTICES FOR ALLOCATING SPEND FOR LEGAL MATTERS
14   4.          For litigation matters,

15

16   5.          As noted in paragraph 28 of my Declaration in Support of Apple’s Motion for Entry of Judgment

17   (Dkt. No. 876-1) (“Declaration”),

18
19

20          6.

21                   For the period from August 2020 through October 31, 2023, Apple has paid a total of

22                    for all invoices billed to these matters.

23       II.     APPLE’S COSTS INCURRED AND PAID SINCE OCTOBER 31, 2023
24         7. Consistent with Apple’s reservation of rights to supplement its submission with information

25

26

27
     1
28    Donald Cameron v. Apple Inc., 4:19-cv-3074-YGR (Cameron) and In Re Apple iPhone Antitrust
     Litigation, 4:11-cv-6714-YGR (Pepper).
     ROLLINS SUPPLEMENTAL DECLARATION ISO                     1                 CASE NO. 4:20-CV-05640-YGR
     APPLE’S MOTION FOR ENTRY OF JUDGMENT
            Case 4:20-cv-05640-YGR Document 894-1 Filed 03/01/24 Page 4 of 5




1    regarding its additional Losses in connection with this litigation, 2 I have reviewed data from Apple’s

2    billing and payment systems, and determined that through October 31, 2023 Apple has paid a total of

3    $82,971,401, for all invoices billed to the domestic Epic litigation

4                      . In addition to the amount Apple has paid since October 31, 2023 through the filing

5    of this declaration, Apple has also received bills for the Epic indemnification litigation

6                          in the amount of $423,935 that it is currently reviewing and processing for payment

7    via the process described in paragraphs 6–26 of my Declaration.

8        8. Apple is seeking indemnification only for fees and costs associated with the domestic Epic

9    litigation                                          , with adjustments and the UCL discount as explained

10   in the Motion.

11   III.     CONFIDENTIALITY OF BILLING PRACTICES AND NON-PUBLIC FINANCIAL
12            INFORMATION

13       9. I have reviewed Apple’s Reply In Support of Its Motion for Entry of Judgment on its

14   Indemnification Counterclaim (the “Reply”).

15       10. Based on my review, I believe that the Reply and this declaration contain certain information that

16   is confidential, proprietary, and/or commercially sensitive, for both Apple and its vendors. These

17   documents contain information on both Apple’s proprietary litigation handling processes and tools and

18   Apple’s non-public financial information regarding costs expended in the Epic litigation. If this

19   information were made public, it would create a substantial risk of competitive, financial, or other injury

20   to Apple.

21       11. I understand that Apple has taken great lengths to shield this information to the extent possible.

22   Given the sensitive nature of these records, they have been kept strictly confidential in the ordinary

23   course of business.

24

25

26

27
     2
28    See Apple’s Motion for Entry of Judgment on its Indemnification Counterclaim (Dkt. No. 876), at 23
     n.2.
     ROLLINS SUPPLEMENTAL DECLARATION ISO                 2                     CASE NO. 4:20-CV-05640-YGR
     APPLE’S MOTION FOR ENTRY OF JUDGMENT
        Case 4:20-cv-05640-YGR Document 894-1 Filed 03/01/24 Page 5 of 5




1       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and correct.

2    Executed this 1st day of March 2024, in Cupertino, California.

3

4                                                            Respectfully submitted,

5                                                            By:    /s/ Mark Rollins
                                                                   MARK ROLLINS
6

7

8

9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

     ROLLINS SUPPLEMENTAL DECLARATION ISO                3                      CASE NO. 4:20-CV-05640-YGR
     APPLE’S MOTION FOR ENTRY OF JUDGMENT
